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                                                         UNITED STATES BANKRUPTCY COURT
                                                          WESTERN DISTRICT OF WISCONSIN

                                                        PAYMENT ADVICES COVER SHEET
                                                  in Accordance With 11 U.S.C. Sec. 521(a)(1)(B)(iv)

 In re:                                                                                         Case No.
             Lance C Provo                                                                      Chapter 13
             Jennifer S Shaw
                                                                      Debtor(s)

Please check the appropriate box.

For Debtor:
      Payment advices (pay stubs) are attached.
      No payment advices (pay stubs) are attached (the debtor had no income from any employer during the
      60 days prior to filing the bankruptcy petition).

            No payment advices (pay stubs) attached for other reason, or some payment advices missing (please
            explain).

For Joint Debtor, if applicable:

            Payment advices (pay stubs) are attached.

            No payment advices (pay stubs) are attached (the debtor had no income from any employer during the
            60 days prior to filing the bankruptcy petition).

            No payment advices (pay stubs) attached for other reason, or some payment advices missing (please
            explain).

I declare under penalty of perjury that I have read this payment advices cover sheet and the attached payment
advices, consisting of 18 sheets, numbered 1 through 18 , and that they are true and correct to the best of
my knowledge, information, and belief.

 Signature of Debtor:       /s/ Lance C Provo                                                  Date: June 11, 2021
 Signature of Joint Debtor: /s/ Jennifer S Shaw                                                Date: June 11, 2021




                                                                                                                            March 2006
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